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                                   6                                 UNITED STATES DISTRICT COURT

                                   7                                NORTHERN DISTRICT OF CALIFORNIA

                                   8
                                         PATRICK THORNTON,
                                   9                                                      Case No. 21-cv-08807-RS
                                                       Plaintiff,
                                  10
                                                 v.                                       ORDER FOR RELATED CASE
                                  11                                                      DETERMINATION
                                         FCA US LLC,
                                  12
Northern District of California




                                                       Defendant.
 United States District Court




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                                  15          This is the second time this action has been removed to the Northern District of California

                                  16   from the Superior Court of Lake County, California. Pursuant to Civil Local Rule 3-12(c), the

                                  17   matter is hereby referred to The Honorable Maxine M. Chesney for a determination as to whether

                                  18   it is related within the meaning of the rule to Thornton v. FCA US, LLC, 3:21-cv-04090-MMC.

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                                  20   IT IS SO ORDERED.

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                                  22   Dated: December 2, 2021

                                  23                                                  ______________________________________
                                                                                      RICHARD SEEBORG
                                  24                                                  Chief United States District Judge
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